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                       Exhibit A
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                                                                               02-28-2022
                                                                               Clerk of Circuit Court
                                                                               Wood County, WI
STATE OF WISCONSIN              CIRCUIT COURT             WOOD COUNTY          2022CV000068
                                                                               Honorable Gregory J.
ESTATE OF JERE SMITH,                                                          Potter
by its Special Administrator,                                                  Branch 1
Francis Podvin, Esq.                               CASE CODE: 30105
Podvin Law Firm
251 Oak St
PO Box 1326
Wisconsin Rapids, WI 54495

STORM RAHIER,
by her guardian ad litem,
Eric Hendrickson, Esq.
Werner, Johnson & Hendrickson, SC
202 E Union Street
PO Box 175
Waupaca, WI 54981

ASHLEY SMITH,
510 12th Street North
Wisconsin Rapids, WI 54494

JEREMY O’DELL,
6201 Academy Ridge Dr NE
Albuquerque, NM 87111

        Plaintiffs,

v.

VERSO CORPORATION,
c/o Registered Agent Corporation Service Company
251 Little Falls Drive
Wilmington, DE 19808,

VERSO PAPER HOLDING, LLC,
c/o Registered Agent Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison, WI 53717

VERSO MINNESOTA WISCONSIN, LLC,
c/o Registered Agent Corporation Service Company
8040 Excelsior Drive, Suite 400
Madison, WI 53717

JOHN DOE 1-50,
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JANE DOE 1-50,

ABC-XYZ CORPORATIONS,

ABC-XYZ INSURANCE COMPANIES,

      Defendants.
____________________________________________________________________________

                                  SUMMONS
______________________________________________________________________________

       THE STATE OF WISCONSIN, To each person named above as a Defendant:

       You are hereby notified that the plaintiffs named above have filed a lawsuit or other legal

action against you. The complaint that is attached states the nature and basis of the legal action.

       Within forty-five (45) days of receiving this summons, you must respond with a written

answer, as that term is used in Chapter 802 of the Wisconsin Statutes, to the Complaint. The

Court may reject or disregard an answer that does not follow the requirements of the Statutes.

The answer must be sent or delivered to the Court, whose address is Wood County Courthouse,

Clerk of Courts, PO Box 8095, Wisconsin Rapids, Wisconsin 54495-8095 and to Studinski Law,

LLC, Attorney Jason T. Studinski and Attorney Jennifer J. Kehoe, whose address is 2810 Gilman

Drive, Plover, Wisconsin 54467, and Janssen Law LLC, Attorney Robert J. Janssen and Attorney

Ryan M. Froelich, whose address is 3000 Riverside Drive, Suite 210, Green Bay, Wisconsin

54301. You may have an attorney help or represent you.

       If you do not provide a proper answer within forty-five (45) days, the court may grant

judgment against you for the award of money or other legal action requested in the complaint,

and you may lose your right to object to anything that is or may be incorrect in the complaint. A

judgment may be enforced as provided by law. A judgment awarding money may become a lien




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against any real estate you own now or in the future, and may also be enforced by garnishment or

seizure of property.


       Dated: February 28, 2022.
                                            STUDINSKI LAW, LLC
                                            Attorneys for Plaintiffs Estate of Jere Smith and
                                            Storm Rahier


                                            By:    /s/ Jason T. Studinski
                                                   Jason T. Studinski
                                                   WI State Bar No. 1026018
                                                   Jennifer J. Kehoe
                                                   WI State Bar No. 1027757
                                                   Studinski Law, LLC
                                                   2810 Gilman Drive
                                                   Plover, WI 54467
                                                   (715) 343-2850
                                                   Fax: (715) 343-2803

       Dated: February 28, 2022.
                                            JANSSEN LAW, LLC
                                            Attorneys for Plaintiffs Ashley Smith and
                                            Jeremy O’Dell


                                            By:    /s/ Robert J. Janssen
                                                   Robert J. Janssen
                                                   WI State Bar No. 1000525
                                                   Ryan M. Froelich
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                                                   3000 Riverside Dr Ste 210
                                                   Green Bay WI 54301-1653
                                                   (920) 425-4844
                                                   Fax: (920) 425-4845




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STATE OF WISCONSIN              CIRCUIT COURT             WOOD COUNTY          2022CV000068
                                                                               Honorable Gregory J.
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ASHLEY SMITH,
510 12th Street North
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JEREMY O’DELL,
6201 Academy Ridge Dr NE
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        Plaintiffs,

v.

VERSO CORPORATION,
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JOHN DOE 1-50,
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JANE DOE 1-50,

ABC-XYZ CORPORATIONS,

ABC-XYZ INSURANCE COMPANIES,

      Defendants.
______________________________________________________________________________

                                 COMPLAINT
______________________________________________________________________________

        Plaintiff Estate of Jere Smith, through its counsel, Studinski Law, LLC, plaintiff Storm

Rahier by her guardian ad litem, Eric Hendrickson, through her counsel, Studinski Law, LLC,

and plaintiffs Ashley Smith and Jeremy O’Dell, through their counsel, Janssen Law, LLC, state

and allege as follows for their Complaint:

                                             PARTIES

        1.     Jere Smith was an adult resident of the state of Wisconsin with his primary place

of residence at 510 12th Street North, Wisconsin Rapids, Wisconsin 54494.

        2.     Jere Smith died on February 29, 2020. Following his death, his claims in this

matter passed to his Estate. Letters of Special Administration were issued to Attorney Francis

Podvin on or about May 13, 2020, and the Estate of Jere Smith is a proper party plaintiff in this

case.

        3.     Plaintiff Storm Rahier, by her guardian ad litem, Eric Hendrickson (“Storm”) is a

minor child with her primary place of residence at 341 Ver Bunker Street, Port Edwards,

Wisconsin 54469. Storm is a daughter of Jere Smith and is a proper party plaintiff in this case.

        4.     Plaintiff Ashley Smith is an adult resident of the state of Wisconsin, with her

primary place of residence at 510 12th Street North, Wisconsin Rapids, Wisconsin 54494. Ashley

Smith is a daughter of Jere Smith and is a proper party plaintiff in this case.




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       5.      Plaintiff Jeremy O’Dell is an adult resident of state of New Mexico, with his

primary place of residence at 6201 Academy Ridge Dr NE, Albuquerque, NM 87111. Jeremy

O’Dell is a son of Jere Smith and is a proper party plaintiff in this case.

       6.      Defendant Verso Corporation is a foreign corporation with its principal place of

business located at 8540 Gander Creek Drive, Miamisburg, Ohio 45342, and its registered agent,

Corporation Service Company, located at 251 Little Falls Drive, Wilmington, DE 19808. Upon

information and belief, at all relevant times Verso Corporation owned, operated, and/or

controlled a paper mill located at approximately 600 4th Ave. N., Wisconsin Rapids, Wisconsin,

and owned, operated, and/or controlled that paper mill’s management and operation. Upon

information and belief, Verso Corporation is a parent company of Defendant Verso Paper

Holding, LLC, and exercises management, control and/or supervision of it and its activities.

Upon information and belief, Verso Corporation is a parent company of Defendant Verso

Minnesota Wisconsin, LLC, and exercises management, control and/or supervision of it and its

activities and is a property party defendant in this case.

       7.      Defendant Verso Paper Holding, LLC, is a foreign limited liability company, with

its principal place of business located at 8540 Gander Creek Drive, Miamisburg, Ohio 45342,

and with its registered agent, Corporation Service Company, located at 8040 Excelsior Drive,

Suite 400, Madison, WI 53717. Upon information and belief, at all relevant times Verso Paper

Holding, LLC owned, operated, and/or controlled a paper mill located at approximately 600 4th

Ave. N., Wisconsin Rapids, Wisconsin, and owned, operated, and/or controlled that paper mill’s

management and operation and is a property party defendant in this case.

       8.      Defendant Verso Minnesota Wisconsin, LLC, is a foreign limited liability

company with its principal place of business located at 8540 Gander Creek Drive, Miamisburg,

Ohio 45342, and with its registered agent, Corporation Service Company, located at 8040


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Excelsior Drive, Suite 400, Madison, WI 53717. Upon information and belief, at all relevant

times Verso Minnesota Wisconsin, LLC owned, operated, and/or controlled a paper mill located

at approximately 600 4th Ave. N., Wisconsin Rapids, Wisconsin, and owned, operated, and/or

controlled that paper mill’s management and operation and is a property party defendant in this

case.

        9.     Defendants John Doe 1-50 are the fictitious names for unknown person(s),

trust(s), and estate(s) who may in any way be liable for the damages sustained by Plaintiffs and

upon information and belief are proper party defendants in this case.

        10.    Defendants Jane Doe 1-50 are the fictitious names for unknown person(s),

trust(s), and estate(s) who may in any way be liable for the damages sustained by Plaintiffs and

upon information and belief are proper party defendants in this case.

        11.    Defendants ABC – XYZ Corporations, the fictitious names for all unknown

corporations, including actual or potential successors, parent corporations, heirs and assigns, the

location of whose offices are unknown, are, upon information and belief, entities that owned,

operated, managed, and/or otherwise controlled the paper mill located at approximately 600 4th

Ave. N., Wisconsin Rapids, Wisconsin and upon information and belief are proper party

defendants in this case.

        12.    Defendants ABC – XYZ Insurance Companies, the fictitious names for unknown

insurance companies, the location of whose offices are unknown, are engaged in the business of

writing and selling liability and/or other insurance. Upon information and belief, at all times

material hereto, ABC – XYZ Insurance Companies had in full force and effect policy(ies) of

liability and/or other insurance issued to named or referenced parties and/or other responsible

individuals or corporate entities, by the terms of which policy(ies) such individuals or corporate

entities agreed to pay all sums which named defendants and/or other responsible individuals or


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corporate entities, might become legally obligated to pay for claims such as those hereinafter

described. By reason of that/those policy(ies) of insurance, the claims outlined herein and other

violations of the defendant(s) through its/their agents, servants, and/or employees, and/or as a

corporate entity(ies), as alleged hereafter, and the laws of the State of Wisconsin, ABC - XYZ

Insurance Companies and upon information and belief are proper party defendants in this case.

                                  FACTUAL ALLEGATIONS

       13.     Plaintiffs incorporate paragraphs 1 - 12, above.

       14.     Upon information and belief, Defendant Verso Corporation and/or Defendant

Verso Paper Holding, LLC and/or Defendant Verso Minnesota Wisconsin, LLC (collectively

“Verso”) at all relevant times owned, operated, controlled, and/or managed a paper mill in

Wisconsin Rapids, Wisconsin.

       15.     The paper mill operated under the name “Wisconsin Rapids Mill” and was located

near 4th Avenue North in Wisconsin Rapids. The Wisconsin Rapids Mill consisted of multiple

buildings with different addresses, and the location and layout are most effectively shown in the

image below:




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        16.      The Wisconsin Rapids Mill began operations in 1904 and, at all relevant times,

produced graphic papers used in commercial printing, media and marketing applications1.

        17.      Verso was obligated to reasonably and safely operate, maintain, inspect, and

otherwise control the operations of the Wisconsin Rapids Mill.

        18.      At all relevant times, Verso had a duty to inspect the facility for the benefit and

protection of Verso employees and others lawfully on its premises, including but not limited to

outside contractors and their employees, and visitors to the Wisconsin Rapids Mill.

        19.      At all relevant times, Verso had a duty to identify safety issues for the benefit and

protection of Verso employees and others lawfully on its premises, including but not limited to

outside contractors and their employees, and visitors to the Wisconsin Rapids Mill.

        20.      At all relevant times, Verso had a duty to maintain, repair and/or remediate safety

risks at the facility for the benefit and protection of Verso employees and others lawfully on its

premises, including but not limited to outside contractors and their employees, and visitors to the

Wisconsin Rapids Mill.

        21.      At all relevant times, Verso had a duty to warn of unsafe conditions for the benefit

and protection of Verso employees and others lawfully on its premises, including but not limited

to outside contractors and their employees, and visitors to the Wisconsin Rapids Mill.

        22.      At all relevant times, Verso was aware of its obligations to inspect, identify,

maintain, repair, and warn regarding safety issues and safety systems at the Wisconsin Rapids

Mill.

        23.      Upon information and belief, there was a contract between one or more of the

Verso entities and Hydroblasters, Inc. (“Hydroblasters”), an outside contractor Verso regularly

contracted with for industrial cleaning services.


1Exhibit 1 – Wisconsin Rapids Mill Fact Sheet downloaded from www.versoco.com as the website existed on or
about December 2, 2020.
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       24.      Hydroblasters is and was in the business of providing high-volume industrial

cleaning and vacuuming services to manufacturers, including paper mills.

       25.      As part of the contractual relationship between Hydroblasters and Verso,

Hydroblasters employees would regularly go to the Wisconsin Rapids Mill to perform industrial

vacuuming and “hydroblasting” services.

       26.      Hydroblasters employees would use industrial equipment, including a vacuum

truck connected to a long, large industrial hose, to vacuum/remove accumulated wood chips,

dust, and other waste created by the paper mill, at various locations and levels at the Wisconsin

Rapids Mill.

       27.      At all relevant times, Jere Smith was employed by Hydroblasters, Inc.

       28.      On or about February 29, 2020, Jere was working at the Wisconsin Rapids Mill in

the course of his employment with Hydroblasters, Inc.

       29.      Upon information and belief, Jere was at all relevant times within areas where he

was directed and permitted to be by Verso to perform his work.

       30.      On that day, Jere was working in an area

on approximately the fourth floor of a multi-story

building that was part of the Wisconsin Rapids Mill.

       31.      The area where Jere was working has

large double doors that open from the interior of the

building to an approximately four-story drop to concrete

below outside the building. The photo to the right

depicts an arrow pointing to the doors from the outside of

the building.




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       32.     The doorway was used for, among other things, access to equipment and materials

located outside the building, including the industrial vacuuming equipment that Jere was using

on February 29, 2020. When not being actively used to allow access to equipment and materials,

the doors were kept closed, with a written warning affixed to the interior of the doors by Verso

that indicates “KEEP THESE DOORS CLOSED” for safety. The photo below depicts the doors

and warning signs from the inside of the building.




       33.     When the doors were opened, the doorway had in place an additional “safety

arrest system” consisting of two separate guardrails that ran horizontally across the width of the

door frame, and parallel to each other. The photo below depicts the open doorway.




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       34.     The guardrails were metal pipes or rods that sat in the cradle of u-shaped brackets

secured to either side of the door frame. A threaded metal bolt was supposed to be inserted

through holes in and across the top of each bracket and then secured with a nut, in order to secure

the guardrails in place. The photo below depicts the configuration of the bracket and the

guardrail.




       35.     On February 29, 2020, Jere was positioned in the doorway with the doors opened

while bringing an industrial vacuum hose up and inside the building from the ground below for

the purposes of removing wood chips, dust, and other waste from the area inside the doors.

       36.     Upon information and belief, Jere was instructed to use the doorway in this

fashion for the purposes of such waste removal and equipment access, by Verso and/or its

employees or agents.

       37.     Jere was crouched beside the open doorway and behind the safety arrest

system/guardrails in order to bring vacuum equipment in under the guard rails and through the

doorway.




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        38.     Upon information and belief, one or more bolts or other pieces of hardware

necessary to keep the guardrails secured in their brackets were missing, leaving the guardrail(s)

unsecured.

        39.     As Jere pulled the vacuum hose through, one of the rails came loose from its

bracket, causing Jere to fall face first out of the doorway to the concrete approximately four

stories below. The photograph below depicts the view looking out from the doorway to the

ground below.




        40.     After the fall, Jere was conscious, despite suffering catastrophic and ultimately

fatal injuries from the fall.

        41.     Jere was able to communicate with people around him after the fall while waiting

for help to come.

        42.     He was agitated and attempting to move when first responders arrived.

        43.     Jere died that same day from the injuries he suffered in the fall.

        44.     Following Jere’s fall, Verso personnel and others searched the scene, and upon

information and belief, the bolt or other hardware that was supposed to secure the guardrail was

never found.

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        45.      Verso failed to properly inspect, maintain, and secure the premises where Jere

fell.

        46.      Verso failed to properly repair or remediate safety problems at the premises where

Jere fell, including inadequate or missing hardware in the safety arrest system/guardrail system

where Jere fell.

        47.      Verso failed to warn Jere and other visitors to the premises of the safety risks

associated with the improperly maintained safety arrest system/guardrail system.

        48.      At all relevant times, Verso was aware that failure to maintain the safety systems,

including the safety arrest system/guardrail system, created a risk of harm to persons on the

premises.

                                       First claim: Negligence

        49.      Plaintiffs incorporate paragraphs 1-48, above.

        50.      At all times material hereto, Defendants, through their agents, servants, and/or

employees and/or as a corporate entity(ies), was/were negligent in its/their inspection, repair,

upkeep and maintenance of the safety arrest system/guardrail system and/or its component parts,

as set forth above and hereafter, and engaged in a continuum of negligent conduct and was/were

otherwise negligent.

        51.      Acts and omissions of negligence include, but are not limited to:

              A. failure to properly inspect the premises, including the safety arrest

                 system/guardrail system;

              B. failure to properly maintain the premises, including the safety arrest

                 system/guardrail system;

              C. failure to properly repair and/or remediate safety risks, including missing or

                 inadequate hardware in the safety arrest system/guardrail system;


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              D. failure to warn people lawfully on the premises, including Jere, of safety risks on

                 the premises, including risks of the safety arrest system/guardrail system; and

              E. other and further acts and omissions of negligence.

        52.      That as a direct and proximate result of defendant(s) negligence, through its/their

agents, servants, employees, and/or as a corporate entity(ies), as alleged, Jere Smith suffered

significant pain and suffering, emotional distress, eventual death, medical expenses, funeral

expenses, and other compensable injuries, all to his damage in an amount to be determined by a

jury.

                                      Second claim: Safe Place

        53.      Plaintiffs incorporate Paragraphs 1-52, above.

        54.      At all relevant times, Verso owned, operated, and/or controlled the Wisconsin

Rapids Mill, a place of employment, as defined by Chapter 101 of the Wisconsin Statutes, and

Defendants, their agents, employees and representatives had a duty to keep that place of

employment safe for employees and frequenters, such as Jere Smith, under the provisions of

Chapter 101 of the Wisconsin Statutes.

        55.      Jere Smith was at all relevant times lawfully on the premises of the Wisconsin

Rapids Mill. Because of Defendants’ negligence in failing to properly inspect, install, maintain

or repair the safety arrest system/guardrail system and/or related items, Jere Smith suffered fatal

injuries. Defendants are responsible for the liability associated with these allegations.

        56.      The safety arrest system/guardrail system, in whole or in part, was either (a) a

structural defect; or (b) an unsafe condition associated with the property.

        57.      Defendants, at all relevant times, had a duty to safely construct, and to safely

inspect, repair and maintain the facilities at the Wisconsin Rapids Mill, including the safety

arrest system/guardrail system.


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       58.     Defendants failed to safely construct and/or to safely inspect, repair and maintain

the facilities, including the safety arrest system/guardrail system.

       59.     Defendants failed to correct problems with the safety arrest system/guardrail

system that were necessary to keep the system operating as intended and designed.

       60.     As a direct and proximate result of Defendants’ negligence and failure to comply

with their obligations under Chapter 101 of the Wisconsin Statutes, Jere Smith sustained fatal

injuries necessitating medical care and suffered pain and disability, and other damages in an

amount to be determined by a jury.

                                  Third claim: Wrongful death

       61.     Plaintiffs incorporate Paragraphs 1-60, above.

       62.     As a direct and proximate result of the allegations and claims set forth herein,

and/or other and further actions of the above-named defendants, through its/their agents,

servants, or employees, and/or as a corporate entity(ies), and the injuries sustained by and

eventual death of Jere Smith, plaintiffs Storm Rahier, Ashley Smith, and Jeremy O’Dell have

been deprived of their father’s society and companionship and have suffered other compensable

injuries to be determined by a jury.

                                 Fourth claim: Punitive damages

       63.     Plaintiffs incorporate Paragraphs 1-62, above.

       64.     Upon information and belief, Defendants, through its/their agents, servants and/or

employees and/or as a corporate entity(ies) acted maliciously toward Jere Smith or in an

intentional disregard of the rights of Jere Smith so as to subject the defendants to punitive

damages.

       WHEREFORE, Plaintiffs demand judgment against Defendants jointly and separately

or individually as allowed by law for the following:


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   A. Plaintiffs demand just and adequate compensatory damages, in an amount to be

      determined by a jury;

   B. Plaintiffs demand a trial by twelve-person jury;

   C. Plaintiffs demand costs, disbursements, attorney’s fees in this action, and all interest

      due and owing pursuant to Wis. Stat. § 628.46; and

   D. Plaintiffs demand punitive damages as permissible under applicable law

   E. Plaintiffs demand such other further relief as the Court deems just and appropriate.


   Dated: February 28, 2022.
                                         STUDINSKI LAW, LLC
                                         Attorneys for Plaintiffs Estate of Jere Smith and
                                         Storm Rahier


                                         By:     /s/ Jason T. Studinski
                                                 Jason T. Studinski
                                                 WI State Bar No. 1026018
                                                 Jennifer J. Kehoe
                                                 WI State Bar No. 1027757
                                                 Studinski Law, LLC
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                                                 Plover, WI 54467
                                                 (715) 343-2850
                                                 Fax: (715) 343-2803

   Dated: February 28, 2022.
                                         JANSSEN LAW, LLC
                                         Attorneys for Plaintiffs Ashley Smith and
                                         Jeremy O’Dell


                                         By:     /s/ Robert J. Janssen
                                                 Robert J. Janssen
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                                                 Ryan M. Froelich
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     the
    WISCONSIN RAPIDS MILL
                                                                                                                      EXHIBIT
     at-a-glance
                                                                                                                            1


VERSO CORPORATION is a leading North American producer of graphic and specialty papers, packaging and pulp.


                               Wisconsin Rapids, Wisconsin
                      When you visit the Wisconsin Rapids Mill, you’re not only at the center of Wisconsin,
                      you’re at the heart of a vibrant downtown that owes its existence to the logging and
                        papermaking industries of the 19th century. Within blocks of the mill along the
                                 Wisconsin River, you’ll find the city’s popular gathering places.



   Began operations in         The Wisconsin Rapids Mill began as Consolidated Water Power                The Wisconsin Rapids



   1904
                               Company in the 1890s, and changed its name to Consolidated                   Mill encompasses
                                Water Power & Paper Company in the early 1900s to include


                                                                                                           1000
                                papermaking. The mill began operations with the world’s first
                                       electrically powered paper machines in 1904.




                             The Wisconsin Rapids Mill has the capacity to produce approximately
                                                                                                           acres
       The Wisconsin                                                                                       and has a pulp mill,



                                            540,000
     Rapids Mill employs                                                                                 paper mill and sheeting
       approximately                                                                                       operation. The paper
                                                                                                         mill operates two paper


       915
                                                                                                          machines with support
                                               tons of paper per year                                        from off-machine
                                                                                                         coaters, supercalenders
                                  The mill makes graphic papers used in commercial printing,                 and winders. The
                                   media and marketing applications, including magazines,                   sheeting operation
        people                 catalogs, books, direct mail, corporate collateral and retail inserts
                                 and packaging papers used in point-of-purchase displays and
                                                                                                         includes eight sheeters
                                                                                                            and two automated
                                           laminated paperboard for box packaging.                           storage facilities.




               zero
                                                       Verso’s steadfast commitment to being “safe from the start” – one
                                                       of our founding principles – permeates our culture and drives our
                                                       effort to reduce injuries at the Wisconsin Rapids Mill. Our entire
                                                       workforce is dedicated to promoting a safe work environment for
                                                       our employees and the community, with all employees working
               injuries goal                           together to achieve a common safety goal: zero injuries.
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                     Case:              DocumentDocument
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Manufacturing
excellence
Verso’s operational excellence model is the core of
our operations strategy. The model focuses on three
key objectives: making best practices common
practices, supporting and enabling our managers
to lead continuous improvement, and providing
an integrated set of tools to aid our improvement
efforts.

Benchmarking brings the model to life. At the
Wisconsin Rapids Mill, we benchmark our current
manufacturing practices against world-class
practices to identify opportunities for improvement,
and then develop targeted action plans to close
the realizable gap between the two. The end goal is
for a highly skilled, fully committed team to provide
superior products and services to our customers at
the lowest cost and with the absolute simplest of
technical and organizational designs.




                                                                                                  O UR C O M M UN IT Y



100%
                                                                                                  Together with our employees, the Wisconsin
                                                                                                  Rapids Mill supports a wide range of
                                                                                                  community organizations and events with a
                                                                                                  focus on education, sustainability and local
                                                                                                  health and human service needs. The mill’s
sustainability commitment                                                                         community participation is driven by our
                                                                                                  employees who generously contribute their
                                                                                                  time and talents in various company-sponsored
 Papermaking is a resource-intensive business. At the Wisconsin Rapids                            and individual volunteer efforts to enhance
 Mill, our goal is to use these resources – trees, water, energy and                              the quality of life in Wisconsin Rapids and the
 chemicals – as efficiently as possible while assuring that we don’t harm                         surrounding area.
 the environment along the way. This is the core of our sustainability
 philosophy … making the products our customers need while leaving the                            R E S P ON SIBLY SO URCE D F I B ER
 smallest possible footprint behind. Verso’s sustainability principles, which
 focus on responsible sourcing, environmental and safety improvement,                             Verso actively monitors the forestry practices
 product stewardship, stakeholder partnerships and transparency, serve                            associated with tree harvests to help assure
 as guideposts on our path to a sustainable future. Using continuous                              that the fiber in our products is legally sourced
 improvement as the yardstick to gauge our progress, our mill team is                             from responsibly managed forests and meets
 dedicated to doing what’s right for our company, our community and our                           the criteria in Verso’s Wood Fiber Procurement
 planet.                                                                                          Policy, a policy that complies with the harvested
                                                                                                  wood requirements of the U.S. Lacey Act.
                                                                                                  Verso is committed to sourcing third-party
 VER S O’ S SUSTA I NABILIT Y PRINCIPLES:                                                         certified and chain-of-custody (CoC) certified
                                                                                                  fiber in our products. All of Verso’s mills have
 •   Procure wood only from sustainably managed forests
                                                                                                  been independently audited and certified
 •   Continue to improve the environmental and safety performance of our operations
                                                                                                  to the Forest Stewardship Council® (FSC® -
 •   Develop innovative products that provide both economic and environmental benefit
                                                                                                  C014984), Programme for the Endorsement
 •   Partner with customers and other important stakeholders on sustainability issues
                                                                                                  of Forest Certification™ (PEFC/29-31-12) and
 •   Continue to evaluate and report progress toward our sustainability goals
                                                                                                  Sustainable Forestry Initiative® (SFI - 00081)
                                                                                                  CoC standards.

Note: The data provided in this document       VERSO CORPORATION
is specific to the Wisconsin Rapids Mill for   600 4th Avenue North         (715) 422-3111
the full year ended December 31, 2019.         Wisconsin Rapids, WI 54495   versoco.com      © 2020 Verso Corporation. All Rights Reserved.
